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10                                 UNITED STATES DISTRICT COURT

11                              NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
12
     IN RE CATHODE RAY TUBE (CRT)                    )     Case No. CV-07-5944
13   ANTITRUST LITIGATION                            )
                                                     )     MDL No. 1917
14                                                   )
                                                     )     REQUEST FOR INTERNATIONAL
15   This Document Relates to:                       )     JUDICIAL ASSISTANCE
                                                     )
16                                                   )     (LETTER ROGATORY)
     All Indirect-Purchaser Actions Including:
17   Stack, et al., v. Chunghwa Picture Tubes, Ltd., )
                                                     )     Honorable Samuel Conti
     et al., Case No. C08-1319-WBD                   )
18                                                   )
19

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21           The United States District Court Northern District of California presents its compliments to

22   the Appropriate Judicial Authority of Malaysia, and requests international assistance to effect

23   service of process to be used in a civil proceeding before this Court in the above captioned matter.

24   I.      REQUEST

25           This Court respectfully requests the assistance described herein as necessary in the

26   interests of justice. The assistance requested is that the Appropriate Judicial Authority of Malaysia

27                                                     1
28               REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE (LETTER ROGATORY)
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 1   effect Service of Process of (1) Complaint in Stack, et al., v. Chunghwa Picture Tubes, Ltd., et al.,

 2   No. C-08-1319-WBD; (2) Summons in a Civil Case; (3) Civil Cover Sheet; (4) a copy of the

 3   Standing Order for all Judges of the Northern District of California, Contents of Joint Case

 4   Management Statement; (5) Dispute Resolution Procedures in the Northern District of California

 5   Handbook (“ADR Handbook”), and (6) the ECF Registration Information Handout. This Court

 6   requests service of process on the below named business entity, a named defendant in this action:

 7                   Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.

 8                   Lot 1, Subang Hi-Tech Industrial Park

 9                   Batu Tiga, 4000 Shah Alam

10                   Selangor Darul Ehsan, Malaysia

11            The Appropriate Judicial Authority of Malaysia is requested to serve the documents listed

12   above by personal service into the hands of a director, managing agent or other person authorized

13   to accept service, or in a manner of service consistent with the laws of Malaysia. This Court

14   further request that the judicial authorities of Malaysia return, through diplomatic channels to

15   Plaintiffs’ attorney, the affidavit of service and a copy of the documents that were served.

16   II.      FACT OF CASE

17            Plaintiffs William E. Stack and Margo Stack, for themselves and on behalf of a plaintiff

18   class consisting of all persons and entities residing in the United States which, from at least May 1,

19   1998 through November 9, 2007, indirectly purchased in the United States, for their own use and

20   not for resale, a cathode ray tube (“CRT”) or product containing a CRT (“CRT Product”) which

21   was manufactured and/or sold by one or more of the Defendants. Defendants are the leading

22   manufacturers of CRTs and CRT Products and control the majority of the CRT industry. Plaintiffs

23   allege that Defendants conspired, combined and contracted to fix, raise, maintain, and stabilize the

24   prices at which CRTs and CRT Products were sold in the United States in violation of Section 1 of

25   the Sherman Antitrust Act, 15 United States Code Section 1, and in violation of Tennessee

26   antitrust laws, Tenn. Code Ann §§ 47-25-101, et seq. For its injuries, Plaintiffs are requesting

27                                                     2
28                REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE (LETTER ROGATORY)
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 1   treble damages and an injunction enjoining defendants’ anti-competitive activity under Section 4

 2   and 16 of the Clayton Act, 15 United States Code Section 15 and 26, and under Tenn. Code Ann

 3   §§ 47-25-101, et seq.

 4   III.   RECIPROCITY

 5          The United States District Court for the Northern District of California would be willing to

 6   provide similar assistance to the Appropriate Judicial Authority of Malaysia.

 7   IV.    REIMBURSEMENT FOR COSTS

 8          Counsel for Plaintiffs are willing to reimburse the judicial authorities of Malaysia for costs

 9   incurred in executing this letter Rogatory. If the cost of executing this Court’s Letter Rogatory

10   exceeds $1,500.00, the judicial authorities of Malaysia are requested to contact the following

11   counsel for Plaintiffs:

12
            Francis O. Scarpulla
13          Zelle Hofmann Voebel Mason & Gette LLP
            44 Montgomery Street, Suite 3400, San Francisco, CA 94104.
14          Phone: (415) 693-0700; Fax: (415) 693-0770.

15          In acknowledgment of the additional time which is needed to prepare and file a responsive

16   pleading to the attached documents, the time period is extended to 45 days after service.

17          The Court extends to the Appropriate Judicial Authorities of Malaysia assurances of its

18   highest consideration.

19

20           March 31, 2008
     DATED: _____________________               By: ___________________________________
                                                        The Honorable Samuel Conti
21                                                      United States District Judge
                                                        450 Golden Gate Ave.
22
                                                        San Francisco, CA 94102
23                                                      United States of America

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28                REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE (LETTER ROGATORY)
